Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 1 of 11 Page|D 63

 

Fn.sn B-,» '
IN THE UNITED sTATEs DISTRICT CoURT - D.c.
FoR THE wESTERN DISTRICT oF TENNESSEE 05 Au@ 25
WEsTERN DIVISION ' PH 3-' leo
flnt M{\ l l ..-`
~~m la ¢,{){{m
fmi U- imprch
sHARoN MABON, W/D OF ai ;`_;:p.,.»:~ l
Plaintiff,
v. No. 03-2879-1)1>

MEMPHIS CITY GOVERNMENT,
MEMPHIS POLICE DEPARTMENT,
CAPTAIN JESSE RICHARDSON in his
official and individual capacity, MGR. RAY
DOUGLAS in his official and individual
capacity, LT. VANESSA HUDSON in her
official and individual capacity, and LT.
TIMOTHY COOK in his official and
individual capacity,

\_/\,/H-/\-/\_/\_/\_/\_/\_/\_/\_/\./\/\_/\'/\'/\_/

Defendants.

 

ORDER GRAN'I`ING IN PART AND DENYING IN PART
DEFENDANT CI'I`Y OF MEMPHIS’ MOTION FOR SUMMARY JUDGMENT

 

Before the Court is the motion (dkt. #45) of Defendant City of Memphis (“Defendants” or
“City”) for summary judgment. Plaintiff Sharon Mabon (“Plaintifi”) filed her complaint on
September 18, 2003, alleging claims under Title Vl] of the Civil Rights Act of 1964, 42 U.S.C. §
2000e, et seq. (“Title Vll”). Defendant alleges that Plaintiff did not suffer any violation of Title VH
and moves the Court for summary judgment, pursuant to Rule 56 of the Federal Rules of Civil
Procedure. For the following reasons, Defendant’s motion is GRANTED in part and DENIED in

part-1

 

1Plaintiff failed to respond to Defendant’s motion. Thus the motion will be decided on th
existing record.

  
 

Thls document enforce on the docket sh
with Fiu|e 58 and_ .`Q(a; . ..J." on

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 2 of 11 Page|D 64

I. FACTUAL BACKGROUND2

Plaintiff was hired by Defendant in 1986 and subsequently promoted to sergeant in August
of 1998. ln 1996, Plaintiff began considering whether to change her religion from Christian to
Hebrew Israelite. According to Plaintiff, the Hebrew Israelite religion requires her to cover her body
and head in reverence to God. While considering her decision, from 1996 until 2000, Plaintif`f
intermittently dressed in accordance With the Hebrew lsraelite religion. She did this until 2001 when
she made a final decision to follow the Hebrew Israelite religion.

In December, 2001, Plaintiff was assigned a limited-duty position in the Crime Stoppers
division due to her pregnancy Employees in this division are allowed to wear casual dress. Upon
return from maternity leave, Plaintiff requested to continue to work in the Crime Stoppers division
because she was still unable to perform the hill duties of a sergeant Her request was granted lt
is at this time that Plaintiff alleges that Major Ray Douglas began a campaign against the Plaintiff
after he and the Plaintiff had a conversation about her religious beliefs. Afterwards, Plaintiff alleges
that her requests to work overtime on varying shifts were denied by Captain Jesse Richardson.
Captain Richardson requested that Plaintiff submit a memo detailing her request for overtime work,
although this Was not Defendant’s usual policy. ln response to Defendant’s request, Plaintiff spoke
with a union representative regarding her rights. On Septen‘lber 7, 2002, Plaintiff was involuntarily
transferred to Felony Response A, which was her assignment prior to December 2001. Upon her
reassignment, Plaintiff Wore coordinated business attire, pursuant to police department policy.

However, Plaintiff alleges that she was confronted by Lieutenant Vanessa Hudson and became

 

2The factual allegations are taken from Plaintiff’s deposition and are presumed to be true
for purposes of this motion only.

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 3 of 11 Page|D 65

aware that she was the subject of numerous conversations by her supervisors, including Major Ray
Douglas, in regard to her clothing Plaintiff alleges that she took leave from September 5, 2002 to
November 18, 2002, due to a hostile and intolerable work environment Upon her return, Plaintiff
requested a different assignment and was assigned to the General Assignment Bureau. Plaintiff
alleges that Lieutenant Timothy Cook continued to harass her by placing a copy of the dress code
in her box, reprimanding her for a scented candle at her desk area, and mocking a picture of the
Plaintiff in front of other subordinates and a commissioned officer. Plaintif`f filed a complaint with
this Court alleging religious discrimination, hostile work environment, and retaliation in violation
of Title Vll against the City and the Memphis Police Department, as well as against Captain J esse
Richardson, Maj or Ray Douglas, Lieutenant Vanessa Hudson, and Lieutenant Timothy Cook.
Defendant filed the instant motion alleging that there is no genuine issue of material fact.
II. LEGAL STANDARD

Surnrnary judgment is proper “if the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56(0). ln other words, summary judgment is appropriately granted “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial.” Celotex Co;p. v. Catrett, 477 U.S. 317,
322 (1986).

Thc party moving for summary judgment may satisfy its initial burden of proving the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the

nonmoving party’s case. E. at 325. This may be accomplished by submitting affirmative evidence

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 4 of 11 Page|D 66

negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.
Wright et al., Federal Practice and Procedure § 2727, at 35 (2d ed. 1998). Facts must be presented
to the court for evaluation Kalamazoo River Study Group v. Rockwell lnt’l Corp., 171 F.3d 1065,
1068 (6th Cir. 1999). The court may consider any material that would be admissible or usable at
trial. 10a Charles A. Wright et al., Federal Practice and Procedure § 2721, at 40 (2d ed. 1998).
Although hearsay evidence may not be considered on a motion for summary judgment, lacklm v.
Schering-Plough Healthcare Prods. Sales Corp., 176 F.3d 921, 927 (6th Cir. 1999), evidentiary
materials presented to avoid summary judgment otherwise need not be in a form that would be
admissible at trial. M, 477 U.S. at 324; Thaddeus-X v. Blatter, 175 F.3d 378, 400 (6th Cir.
1999). In evaluating a motion for summary judgment, all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Matsushita Elec. lndus. Co. v. Zenith Radio Corp.,
475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3d 452, 460 (6th Cir. 2001).
Justifiable inferences based on facts are also to be drawn in favor of the non-movant Kalamazoo
M, 171 F.3d at 1068.

Once a properly supported motion for summary judgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial
exists if the evidence would permit a reasonable jury to return a verdict for the nonmoving party.
Anderson v. Libertv Lobbv. lnc.. 477 U.S. 242, 248 (1986). To avoid summary judgment, the
nonmoving party “must do more than simply show that there is some metaphysical doubt as to the

material facts.” Matsushita, 475 U.S. at 586.

Case 2:03-CV-02879-BBD-tmp Document 55 Filed`08/26/O5 Page50f11 Page|D 67

III. Analysis

A. Religious Discrimination

ln a Title Vll action for religious discrimination alleging an employer’s disparate treatment
of an employee or the employer’s failure to accommodate an employee’s religious beliefs, a plaintiff
has the initial burden of establishing a prima facie case that the employer discriminated against her
because of her religion. Beaven v. Comrnonwealth of Kentucky, 783 F.Zd 672, 675 (6th Cir. 1986).
ln the prima facie claim, a plaintiff must show 1) that she holds a bona fide religious belief that
conflicts with a requirement of the employer; 2) that she has informed her employer of the conflict;
and 3) that she suffered an adverse employment decision for failing to comply with the employer’s
requirement lt is the employer’s obligation to acconnnodate an employee’s beliefs or practices that
would not impose more than a de minimis cost to the employer. Trans World Airlines v. Hardison,
432 U.S. 63 (1977). Once the plaintiff has established her prima facie case, the burden of production
shifts to the defendant to articulate a legitimate, nondiscriminatory reason for the adverse
employment decision. Talley v. Bravo Pitino Restaurant, Ltd., 61 F.3d 1241, 1246 (6th Cir. 1995).

Plaintiff failed to make any additional showing of credible evidence in response to the
evidence Defendant presented in the current motion As a result, Plaintiff fails to meet her burden
of production for all three prongs. Defendant and Plaintiff concede that Plaintiff’ s religious beliefs
do not conflict with Defendant’s dress code requirements Plaintiff has stated that her attire does
not conflict with the police department policy on corporate dress and that she is able to wear the
police department uniform Def`. Mot. for Sum. J. at 19, citing Mabon Depo., Vol. l, 1[ 198 - 200,
Vol. II, ‘[[ 26. Additionally, Plaintiff has not been officially reprimanded for her attire and has been

permitted to wear her choice of`clothing. Def`. Mot. for Sum. J. at 20, citing McCann Aff`., Ex. 15.

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 6 of 11 Page|D 68

In turn, Plaintiff has never requested that Defendant accommodate her religious beliefs. Def. Mot.
f`or Sum. J. at 20, citing Mabon Depo., Vol. l, 11 53. As for the third prong, Defendant presented
evidence that budget concerns were the reason why Plaintiff was denied particular shifts and
assignments Plaintiff has not offered any additional evidence to rebut Defendant’s showing As
Plaintiff has failed to establish a prima facie case of discrimination, the Court grants Defendant’s
motion for summary judgment as to Plaintiff’s claims of disparate treatment and failure to
accommodate
B. Hostile Work Environment
To establish a prima facie case of hostile Work environment a Plaintiff must show (1) that she
is a member of a protected class; (2) that she was subject to unwelcome harassment; (3) that the
harassment was based on religion; (4) that the harassment had the effect of unreasonably interfering
with her work performance by creating an intimidating, hostile, or offensive work environment; and
(5) the existence of employer liability. Faragher v. City ofBoca Raton. 524 U.S. 775, 787-88 (1998);
Harris v. Forklift Sys., lnc., 510 U.S. 17, 23 (1993); Newman v. Fed. Express Co;p., 266 F.3d 401
(6th Cir. 2001). A court must consider the totality of the circumstances in determining whether,
objectively, the alleged harassment constitutes a hostile work environment Williams v. General
Motors Col_'p., 187 F.3d 553, 562 (6th Cir. 1999); Campbell v. Florida Stcel Corp., 919 S.W.2d 26,
32 (1996). Appropriate factors to consider include the frequency of the discriminatory conduct its
severity, whether it is physically threatening or humiliating or a mere offensive utterance, and whether
it unreasonably interferes with an employee’s work performance Larris, 510 U.S. at 23.
In viewing the evidence in a light most favorable to the non-movant, Plaintiff’ s religious dress

is protected under Title VlI. Matsushita Elec. Indus. Co. v. Zenith Radio Co;p., 475 U.S. 574, 587

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 7 of 11 Page|D 69

(1986). See Definitions 42 U.S.C. § 2000e(j). Title Vll states in relevant part:

It shall be an unlawful employment practice for an employer--

(1) to fail or refuse to hire or to discharge any individual, or otherwise

to discriminate against any individual with respect to his

compensation terms, conditions, or privileges of employment

because of such individual’s race, color, religion, sex, or national

origin
42 U.S.C. § 2000e-2(a). This provision prohibits an employer from discriminating against an
employee on the basis of that employee’s beliefs or religious practices. w Definitions at 42
U.S.C. § 2000e(]`). Plaintiff’ s manner of dress often consisted of bright, colorful head coverings of
various shapes and designs, with colorful, long flowing, tunic-like tops over flowing pants. Douglas
Aff. Ex 24. Plaintiff explained in her own words, “My attire is based upon my way of life (religion).
l give reverence to God by covering myself.” § at Ex. 35.

Defendant does not dispute that Plaintiff’ s attire subjected her to unwelcome harassment or
that this harassment was based on her religion Defendant presents no evidence to rebut Plaintiff"s.
allegation that Captain Richardson did not let her work the day shift “because he didn’t want the
inspector to see me.” Pl. Depo. Vol. ll 11 90. Nor did Defendant rebut evidence that Officer Avery
told Plaintiff that her outfit was a “clown suit.” Pl. Depo. Vol. ll il 117.

ln addition, Defendant did not contend in its motion that the totality of the incidents did not
create an intimidating, hostile, or offensive work environment Plaintiff averred that she became
distressed when she was made aware of the numerous discussions concerning her attire. Specifically,
the Court finds that three undisputed incidents create a genuine issue of fact as to the existence of a

hostile work environment On two occasions, the Plaintiff" s former supervisor, Major Douglas made

comments to Plaintiff’ s supervisors about her attire. ln one instance, Major Douglas communicated

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 8 of 11 Page|D 70

his concerns about Plaintiff’s clothing to Lieutenant Vanessa Hudson, who then volunteered to talk
to Plaintiff about her clothing Douglas Aff. Ex. 31. Major Douglas also inquired as to Lieutenant
Vernetta Mhoon’s “opinion about Plaintiff’s clothing and expressed his disapproval of her attire
because he believed it made it difficult for her to do her job and was simply not appropriate.” Mhoon
Aff. Ex. 18. In addition Defendant does not dispute that Lieutenant Vincent Higgins told Plaintiff
that Lieutenant Cook displayed her photograph on a computer and asked another officer “how would
an old, white lady feel if she came up and Sergeant Mabon was her sergeant?” Pl. Depo. Vol. ll 11 41 .

Courts have found that isolated incidents alone must be extremely serious to amount to
discriminatory changes in the terms or conditions of employment Morris v. Oldham Countv Fiscal
Co_urt, 201 F.3d 784, 790 (6th Cir. 2000); Livingston v. Adirondack Beverage Co., 141 F.3d 434, 437
(2nd Cir. 1998). However, the determination of whether the circumstances constitute the severity to

merit relief for the Plaintiff should be left to the finder of fact Harris, 510 U.S. at 23. ln Livingston,

 

the court held that a supervisor calling the Latino claimant a “Spic” three times was sufficiently severe
to objectively constitute harassment Livingston, 141 F.3d at 43 7. The amount of evidence presented
in the instant case is similarly sufficient to create a genuine issue of material fact and thus withstand
a motion for summary judgment §

Since the named Defendants that allegedly harassed Plaintiff were employees of the Memphis
Police Department at the time of Plaintiff" s allegation there is no dispute as to employer liability E
Order Granting in Part and Denying in Part Def. Mot. to Dismiss lndividual Def`. Accordingly the
Court denies Defendant’s motion for summary judgment as to Plaintiff’s hostile work environment

claim.

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 9 of 11 Page|D 71

C. Retaliation

Title Vll’s anti-retaliation provision provides that “[i]t shall be an unlawfiil employment
practice for an employer to discriminate against any of his employees . . . because [the employee] has
opposed any practice made unlawful by [Title V[[].” 42 U.S.C. § 2000e-3(a]. To prevail on a claim
of retaliation a plaintiff must show discriminatory motive. Johnson v. Department of Health &
Human Servs., 30 F.3d 45 , 47 (6th Cir. 1994). A plaintiff may demonstrate discriminatory motive by
presenting direct evidence which shows a causal connection between the employer’s adverse action
against the plaintiff and the plaintiff" s protected activity. Laderach v. U-Haul of Northwestern Ohio,
207 F.3d 825, 829 (6th Cir. 2000). If a plaintiff is unable to present direct evidence of retaliatory
animus, the plaintiff may prove unlawful motivation by making out a prima facie case of retaliation
McDonnell Douglas Cog:_». v. Green, 411 U.S. 792 (1973); Texas Dep’t of Community Affairs v.
Bur_dine, 450 U.S. 248 (1981); Wilson v. Stroh Comoanies. lnc.. 952 F.Zd 942, 945 (6th Cir. 1992).
The prima facie case for retaliation requires a plaintiff to establish that “(1) he engaged in activity
protected by Title Vll', (2) the exercise of his civil rights was known to defendant; (3) thereafter, the
defendant took an employment action adverse to the plaintiff; and (4) there Was a causal connection
between the protected activity and the adverse employment action” Nguven v. Citv of Cleveland, 229
F.3d 559, 563 (6th Cir. 2000).

Plaintiff alleges that Defendant retaliated against her for speaking to a union representative in
regard to her treatment by Captain Richardson Plaintiff"s response to her perception of unlawful
discrimination is protected by Title Vll. 42 U.S.C. § 2000e-3(a). Plaintiff alleges that Defendant
assigned her to Felony Response A against her wishes in an attempt to have her constructively

discharged. Plaintiff’ s Complaint 11 6. Defendant contends that this was not an adverse employment

Case 2:03-CV-02879-BBD-tmp Document 55 Filed 08/26/05 Page 10 of 11 Page|D 72

action, and that Plaintiff’s reassignment from Crime Stoppers to Felony Shift A was solely due to
budget concerns Defendant presented evidence that Plaintiff received a higher wage than civilians
working in Crime Stoppers for the same duties An employer is entitled to summary judgment if the
record conclusively reveals some other nondiscriminatory reason for the employer’s decision Bgy_e_s
v. Sanderson Plumbing Prods., lnc., 530 U.S. 133 (2000). Plaintiff has not proffered any additional
evidence to rebut Defendant’s legitimate, nondiscriminatory reason As aresult, Defendant’s motion
for summary judgment as to Plaintiff’s claim of retaliation is granted.
IV. CONCLUSION

For the foregoing reasons, the Court GRANTS Defendant’s motion for summary judgment as
Plaintiff’s claims of disparate treatment, failure to accommodate, and retaliation The Court DENIES

Defendant’s motion for summary judgment as to Plaintiff" s hostile work environment claim. .

_ 4"°
IT IS SO ORDERED thisg é day of August 2005 .

 

INITED STATES DISTRICT JUDGE

10

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:03-CV-02879 was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WlLKlNS
119 S. Main St.

Ste. 700

l\/lernphis7 TN 38103

Sharon Harless Loy

LAW OFFICE OF RICKY E. WlLKlNS
119 S. Main St.

Ste. 700

l\/lernphis7 TN 38103

Wanda Abioto

LAW OFFICE OF WANDA ABIOTO
1555 l\/ladison Ave.

l\/lernphis7 TN 3 8104

Honorable Bernice Donald
US DISTRICT COURT

